Case 1:17-cv-00364-LMB-JFA Document 171 Filed 01/12/18 Page 1 of 1 PageID# 2010



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division
                                                                                                          • ;l
                                                                                                          ✓
 SHARYL THOMPSON ATTKISSON,                     )                                           JAN I 2 ?0t
 el al..                                        )

                         Plaintiffs.
                                                )
           V.                                   )    Civil Action No. 1;17cv0364 (I.MB/JFA)
                                                )
 ERIC HOLDER, e/aL                              )

                         Defendants.



                                               ORDER


           On Friday, January 12. 2018. plaintiffs and non-parly Verizon Virginia LLC ("Verizon")

 appeared before the court to present argument on Verizon's motion for protective order (Docket

 no. 156). Upon consideration of the motion, memorandum in support (Docket no. 157),

 opposition (Docket no. 165), and reply (Docket no. 167). and for the reasons stated from the

 bench, it is hereby

           ORDERED that Verizon's motion for protective order is granted in part, denied in part.

           Entered this 12th day of January. 2018.

                                                                       -/s/.
                                                        John r. AmiL-rsGn
                                                        Uniibd Suilus l.'ljgislrale Judge
                                                       John F. Anderson
 Alexandria, Virginia                                  United States Magi.strate Judge
